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                         EXHIBIT 2
    Case 2:19-cv-03081-MWF-JPR Document 30-2 Filed 10/08/19 Page 2 of 3 Page ID #:229


Stephens, Michelle

From:                             Jeffrey Fisher <Jeffrey.Fisher@doj.ca.gov>
Sent:                             Thursday, July 12, 2018 1:04 PM
To:                               Stacy, Wayne
Cc:                               Guske, Sarah; House, Ariel; Stephens, Michelle; William Kwong; Zewugeberhan Desta
Subject:                          RE: Turner v. Lewis, et al., No. 15-00078; Turner v. Cates, No. 15-003067
Attachments:                      42020053.PDF; Turner Letter Enclosures.zip


Good afternoon, Mr. Stacy.

I’m sorry I missed your call from earlier this afternoon. I can be available this afternoon before 2:30, or any time
tomorrow, to meet and confer by phone. But we were also in the process of writing the attached letter discussing what
we’ve discovered about the issues Mr. Turner is having. After reviewing it and the attachments—both attached to this
email—please let us know if and when you would like to talk by phone.

(Please let me know if the attachments do not arrive or you have difficulty viewing them.)

Kind regards,
Jeff



Jeffrey T. Fisher
Deputy Attorney General, Correctional Law Section
Office of the Attorney General
455 Golden Gate Ave., Suite 11000
San Francisco, CA 94102-7002
Tel: (415) 510-3568
Fax: (415) 703-5480
Jeffrey.Fisher@doj.ca.gov


From: michelle.stephens@bakerbotts.com [mailto:michelle.stephens@bakerbotts.com]
Sent: Monday, July 09, 2018 10:29 AM
To: William Kwong <William.Kwong@doj.ca.gov>; Jeffrey Fisher <Jeffrey.Fisher@doj.ca.gov>
Cc: Wayne.Stacy@BakerBotts.com; sarah.guske@bakerbotts.com; ariel.house@bakerbotts.com
Subject: Turner v. Lewis, et al., No. 15-00078; Turner v. Cates, No. 15-003067

Dear Mr. Kwong and Mr. Fisher,

Attached please find correspondence from Mr. Wayne Stacy, in the above-referenced matter.

Sincerely,

Michelle Stephens
Legal Secretary to
Patricia M. Stanton, Partner
Wayne O. Stacy, Partner
Sarah J. Guske, Partner

Baker Botts L.L.P.
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